Case 2:14-cV-01773-PD Document 1 Filed 03/25/14 Page 1 of 31

UNITED STATES DISTRICT COURT
EASTERN DISTRICT OF PENNSYLVANIA
PHILADELPHIA, PA

United States ex rel. the minor child
Keyla Eulalia RUIZ GUAJARDO,
Lawrence COX, and
Nancy RODRIGUEZ COX,
Conservator of the minor child,

Petitioners
V.
Case 110.

Kathleen Sebelius Secretary of Health and Human Services

Eskinder Negash, Director of the Ofi`lce of
Refugee Resettlement (ORR),

Tricia Swartz, Associate Deputy Director for
Children'$ Services of the Off`lce of
Refugee Resettlement (ORR)

Jeh Johnson, Secretary Of the Department Of
Homeland Security;

Thomas Decker, Field Offlce Director,
US ICE Philadelphia, Pennsylvania

Noel Sanchez Jr., , Director cf Field Operations,
CuStoms and Border Patrol Laredo, Texas Field Office

Lutheran Children and Family Services, Phjladelphia
Hebrew Immigration ASSiSta.nce Society, Philadelphia
Support Center for Chjld Advocates of Philadelphja
Young Center for Immigra.nt Chi]dren’s Rights in Chicago
Respondents.
PETITION FOR WRIT OF HABEAS CORPUS

AND COMPLAINT FOR WRIT OF MANDAMUS
AND DECLARATORY JUDGMENT

 

Case 2:14-cV-01773-PD Document 1 Filed 03/25/14 Page 2 of 31

“ln all debates, let truth be thy aim, not victory, or an unjust interest.”

Williain Penn

INTRODUCTION

This Petition and Complaint seeks a Writ of Habeas Corpus and Writ of Mandarnus
and/or a Declaratory ludgment: l) to review the actions and inactions of the U.S. Government,
specifically the Department of Health and Human Services, its designees and the Department of
Homeland Security from June 7, 2011 to present relating to the seizure, detention and other
actions taken towards the minor child Keyla Eulalia RUIZ GUAJARDO in violation of F ederal
and state laW. This Petition and Complaint is being submitted on Keyla’s behalf by l\/lr.
Lawrence CoX and Ms. Nancy Rodriguez CoX (hereinafter Petitioners) pursuant to an order of
Conservatorship (Guardianship) issued by the Texas District Court, 73rd District on April 13,
2012 that charges them With the responsibility for her proper care and protection Through the
U.S. government agencies’ refusal to engage in even the most basic of communications
regarding Keyla’s Welfare and their placement of Keyla in a secret, undisclosed location, the
Defendants are unlawfully detaining Keyla and preventing the Petitioners from executing their
legal and moral obligations They have also unlawfully denied Petitioners’ application for
family reunitication With Keyla, issuing a decision that contained no reasoning Their failure to
provide even the simplest basis for the denial and continuing refusal to provide such reasoning
violates the Adrninistrative Procedures Act (APA) (5 U.S.C. §701 et. seq.) and is preventing the
Petitioners from fulfilling their obligations to Keyla. Those obligations began When they
promised Keyla’s great-grandmother in l\/Iexico to provide for her and have continued through to

the present day pursuant to the TeXas state court order and that personal promise.

 

 

Case 2:14-cV-01773-PD Document 1 Filed 03/25/14 Page 3 of 31

Petitioners respectfully request this Court to exercise jurisdiction over this matter and
direct the relief outlined below. ln support of this Petition and Coniplaint, it is averred as

follows:

PARTIES

l. Petitioner, minor child Keyla Eulalia Ruiz Guajardo is being held by the defendants in
the Philadelphia, Pennsylvania area. Keyla was born August 22J 1999 in Matamoros,
Mexico. Her mother, Nereyda Concepcion Ruiz Guajardo was just 12 years old at the
time of Keyla’s birth. Keyla is the child of a gang rape ofNereyda and her father is
unknown Keyla is a special needs child who has been diagnosed with partial and
complex partial epilepsy, cerebral palsy, static encephalopathy, pseudo-bulbar palsy, and
microcephaly.

2. Petitioner, Lawrence CoX is a U.S. citizen On April 13, 2012 he and his wife, Dr. Nancy
Rodriguez CoX were granted conservatorship over the minor child, Keyla Eulaiia
Ruiz Guajardo in TeXas.

3. Petitioner Dr. Nancy Rodriguez CoX is a U.S. Pernianent Resident. On April 13, 2012
she and her husband Lawrence Cox were granted conservatorship over the minor
child, Keyla Eulalia Ruiz Guajardo in Texas.

4. Defendants/Respondents are officers of the United States or the designees of those
officers, respectively:

a. Kathleen Sebelius Secretary of Health and Hurnan Services;

b. Eskinder Negash, Director of the Office of Reiilgee Resettlement (ORR);

 

 

Case 2:14-cV-01773-PD Document 1 Filed 03/25/14 Page 4 of 31

c. Tricia Swartz, Associate Deputy Director for Children's Services of the Off'lce of
Refugee Resettlement (ORR);
d. .l ch Johnson, Secretary of the Departrnent of Homeland Security;
e, Thonias Decker, Field Office Director, US lCE Philadelphia1 Pennsylvania;
f. Noel Sanchez Jr., Director of Field Operations, Custorns and Border Patrol
Laredo, Texas;
g. Lutheran Children and Family Services, Philadelphia, Pennsylvania;
h. Hebrew lmniigration Assistance Society (HIAS), Philadelphia, Pennsylvania;
i. Support Center for Child Advocates of PhiladelphiaJ Pennsylvania.
j. Young Center for lmrnigrant Children’s Rights in Chicago, lllinois.
The named U.S. Government officials/officers are sued in their official capacities only.
The named non-profit organizations are sued in their capacity as the designees of the
Government, specifically the ORR. These agencies and their designees are empowered
and entrusted with the proper enforcement of the lmmigration laws that are the subject of
this Complaint. All Defendants have, at one time or another, been involved in actions to
establish or maintain U.S. government custody over the minor child, Keyla Eulalia Ruiz

Guaj ardo.

JURISDICTION
'i`his Court has jurisdiction over Petitioner’s petition under U.S. Const. Art. l, sec. 9 and
28 U.S.C. §224l(c)(3), because Keyla is being held “;..in custody in violation of the
Constitution or laws or treaties of the United States.” See Zubeda v. Elwood, 265 F. Supp

2d. 509 (Bd Cir, 2003); See also Perez v. Efwood, 294 F.3d 552 (Bd Cir. 2002) and Ngo v.

 

 

Case 2:14-cV-01773-PD Document 1 Filed 03/25/14 Page 5 of 31

INS, 192 F.3d 390, 400 (Brd Cir. 1999) (Reversing decision to continue detention for
failure to follow applicable procedures and setting forth Appendix of Court providing for
lnterim Procedures for agency to follow). The Petitioner requests this Court to assume
jurisdiction over the petitioner’s person through traditional Habeas Corpus, to
determine custody. ln the alternative, the Court should assume jurisdiction pursuant to
Habeas Cozpus to review the ongoing custody determinations of the government, which
are in violation of its own laws and regulations

This complaint asserts the unlawfulness of the decisions relating to the original seizure
and detention of Keyla on June 7J 2011 and continuing to the present day. These actions
have deprived her of her liberty in violation of Constitutional Due Process and traditional
Habeas Corpus, 28 U.S.C. §2241.

Jurisdiction to review the agency determinations relating to custody and the May 8, 2013
denial of the Petitioners’ application for reunification is also appropriate under the
Adrninistrative Procedures Act (APA), 5 U.S.C. § 701 et. seq., and the lmmigration and
Nationality Act (INA), 8 U.S.C. §1101, et. seq. The failure to exercise discretion f as
opposed to an exercise of discretion that is simply opposed on factual grounds - is
“unlawful” within the meaning of the APA §701. lt is also an “abuse of discretion” and
“arbitrary and capricious” within the meaning of the APA. The APA violation provides
the jurisdictional basis upon which the Court may make a Declaratory ludgment under 28
U.S.C. §2201.

Jurisdiction is also proper under 28 U.S.C. §1361, under the law of Mandamus. The
action requested of the Government, lawiill and proper adjudication of the application for

reunification and response to requests for information relating to Keyla’s health and well-

 

8.

Case 2:14-cV-01773-PD Document 1 Filed 03/25/14 Page 6 of 31

being, are duties owed to the Petitioners subject to Mandamus. Petitioners’ requests for
decision-making that is performed in a manner that actually exercises discretion rather
than applying reasoning to a pre-determined outcome is a “duty owed to the plaintiff.”
See, 28 U.S.C. §1361. ln order for discretion to be a bar to jurisdiction, it must first
actually be exercised See, Unz`ted States ex rel. Accardz` v. Shaughnessy, 347 U.S. 260,
266~67, 98 L. Ed. 681, 74 S. Ct. 499 (1954) (inji”a). The Governrnent decisions reflect
predetermination rather than a lawful exercise of discretion

A court examining the issues of agency discretion over applications for lawful permanent
residence like the one in this case has said:

if the word ‘discretion’ means anything in a statutory or
administrative grant of power, it means that the recipient must
exercise his authority according to his own understanding and
conscience.’ See Goncalves v. Reno, 144 F.3d at 125 (quoting
United States ex rel. Accardi v. Shaughnessy, 347 U.S. 260, 266-
67, 98 L. Ed. 681, 74 S. Ct. 499 (1954)) (internal quotation marks
omitted)(alteration in Goncalves) (emphasis added). This comports
with a doctrine articulated by .ludge Jerome Frank in Um`tea’ States
ex rel. Adel v. Shaughnessy, 183 F.2d 371 (2d Cir. 1950), that
where Congress has granted an agency discretion, courts may
intervene when there has been ‘a clear failure to exercise
discretion’ (as well as when that discretion has been abused). Id. at
372. in later formulations, courts have said that an agency's ‘failure
to . . . exercise its discretion, when properly called upon to do so, is
subject to judicial review for arbitrariness and capriciousness.’
Wolfe v. Mursh, 266 U.S. App. D.C. 290, 835 F.2d 354, 358 (D.C.
Cir. 1987). Here, the Attorney General must actually exercise his
discretion to determine whether the paroled individuals that
Congress has deemed eligible for adjustment of status should be
granted this relief.

Su.ccar v. Ashcro]i‘, 394 F.3d 8, 26 n.23 (lst Cir. 2005).

The APA “embodies the basic presumption of judicial review to one ‘suffering legal
wrong because of agency action, or adversely affected or aggrieved by agency action

Within the meaning of a relevant statute. ”’ Abbott Laboratories v. Gardner, 387 U.S. 136,

 

10.

Case 2:14-cV-01773-PD Document 1 Filed 03/25/14 Page 7 of 31

140 (1967) (quoting 5 U.S.C. § 702)); see Reno v. Cath. Soc. Servs., 509 U.S. 43, 63-64
(1993) (“there is a well~settled presumption favoring interpretation of statutes that allow
judicial review of administrative action” (quoting McNary v. Haitian Refugee Ch‘. , 498
U.S. 479, 498 (1991)). Thus, courts may only limit access to judicial review where there
is “clear and convincing evidence” that Congrcss intended to restrict review. Reno, 509
U.S. at 64; Abbott Laboratories, 387 U.S. at 141; Rusk v. Cort, 369 U.S. 367, 379-80
(1962).

To the extent that the Government’s actions in this matter arc not supported by
substantial justification, attorney fees are appropriate The Equal Access to Justice Act,
as amended, 5 U.S.C. § 504 and 28 U.S.C. § 2412 (the "EA.TA"), provides for the award
of costs and attorney's fees to a prevailing party in litigation against the United States or
one of its agencies The EAJA has been invoked to justify the award of attorney fees and
costs in immigration cases. See, e.g., Commissioner, Immigmtion and Naruraiizarion
Service v. Jean, 496 U.S. 154 (1990); accord Dabone v. Thornburgh, 734 F.Supp. 195

(E.D. PA 1990) and Harriott v. Asl'tcroft,l 277 F. Supp. 2d 538, 545-46 (E.D.Pa. 2003).

EXHAUSTION
Exhaustion of administrative remedies would be futile in this case. As a preliminary
matter, no remedies exist As to custody, the Govemment and its designees have not

provided information as to Keyla’s location and have not permitted the Petitioners’ any

 

1 Undersigned counsel was the attorney in Harriott. ln that 2003 proceeding, his level of
expertise in lmmigration Law was recognized and an EA.TA judgment based on hourly rate of

$3 00 was approved Since that case, Counsel has filed more than 30 Mandamus and Declaratory
ludgment actions in federal Court. He is a frequent speaker on issues such as federal court
litigation at the national conference of the American lmmigration Lawyers Association (AILA).

 

 

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Case 2:14-cV-01773-PD Document 1 Filed 03/25/14 Page 8 of 31

access to her. These actions have been taken without issuance of a formal opinion or
decision Upon information and belief, any request for information has been referred to
the Freedom of lnforrnation Act ( FOIA) process and as of this date is still pending with
ORR While the FOlA process is on appeal with lmmigration and Customs Enforcement.
Second, as to the application for reunification, the communication of the denial decision
on l\/iay 8, 2013 was made through email with no reasoning A request for additional
explanation for reasoning or review was refused citing alleged confidentiality Upon
information and belief the May 8, 2013 denial was the result of a predetermined position
established on or before November 201 1 when the ORR first informed the Petitioners
they had no legal standing with respect to Keyla.

ln more recent actions, the Government and its designees have taken secretive actions
even while purporting to be in communication with counsel for the Petitioner. The most
recent filing by the Governrnent and its designees in the lmmigration Court matter for
Keyla was an assertion that the Petitioners lack any standing to intervene in any legal
matter relating to Keyla. The lack of good faith in any communication on this matter,
coupled with the fact that no administrative remedy exists are sufficient to show that

exhaustion is impossible and would be futile even if it existed.

STATEMENT OF TI-IE CLAIM
Keyla was born August 22, 1999 in Matamoros, Mexieo. Her motherJ Nereyda

Concepcion Ruiz Guajardo was just 12 years old at the time of Keyla’s birth. Exhibit 1

 

 

 

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Case 2:14-cV-01773-PD Document 1 Filed 03/25/14 Page 9 of 31

(Birth Certificate of minor child Keyla Eulalia Ruiz Guaj ardo)z. Keyla is the child of a
gang rape of Nereyda and her father is unknown From the time of her birth, Keyla was
cared for by her maternal great-grandmother, l\/laria Antonia Guajl ardo Corpus (Antonia).
Keyla’s grandmother had died giving birth to Nereyda, thus, Antonia was the closest
relative able to care for Keyla. Keyla is a special needs child diagnosed with partial and
complex partial epilepsy, cerebral palsy, static encephalopathy, pseudo-bulbar palsy, and
mrcr@wphaiy. Exhiba 2 (Medicai nepoas).3

On March 8, 2001 , Antonia and Keyla met the Petitioners in Matamoros, i\/lexico.
Antonia asked that they help with Keyla’s medicines for her seizures. From 2001
through August 2005, the Petitioners provided that assistance for Keyla and helped
Antonia as well. At that time, Antonia and Keyla both moved in to Casa Bugambilia, a
refuge home owned by the Petitioners in which they provide assistance to people in need
in Matamoros, especially those who have been abandoned or are in need of health care.
Antonia and Keyla lived with the Petitioners in August 2005. ln January 2006, Antonia
died of an infection ln December 2005, before she died, she again requested the
Petitioners to care for Keyla. From that day forward, the Petitioners have treated and
considered Keyla as a daughter.

For five and a half years, from January 2006 through June 2011, Keyla lived with the

Petitioners as part of their family. They provided medical care for her. No other family

 

2 The birth record incorrectly sets Nereyda’s age as 13 at the time of Keyla’s birth. This was
likely due to confusion about her birth date 4 December 1, 1986 (not January 12, 1986).

3 The Petitioners communicated a willingness from the outset of this matter on .lune 7, 2011 to
share documentation relating to Keyla’s medical diagnoses and treatment history with the U.S.
government. That offer was re-stated most recently just over one month ago. To date the
Respondents have neither accepted the offer to review this information nor have they shared
subsequent information about Keyla’s care since she was seized, except to provide an occasional
informal comment in telephone conversations and emails.

 

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Case 2:14-cV-01773-PD Document 1 Filed 03/25/14 Page 10 of 31

member was able or willing to care for Keyla, although she did have an aunt, Adriana
Beatriz Ruiz Guajardo, as well as cousins who maintained contact However, as Adriana
has explained, the Coxes have provided the best home for her and she has relinquished
any claim to custody. Exhibit 3 (statement of Adriana Beatriz Ruiz Guajardo September
25, 2013); see also, Exhibit 17 Tab 1 (Affidavit of Adriana Beatriz Ruiz Guajardo
February l3, 2012).

During the first half of 2011, conditions deteriorated in l\/Iatamoros. The Casa Bugambilia
refuge became a focus point for one group in a dispute amongst drug cartels, because of
its location in l\/Iatamoros. One of these groups, Los Zetas, were and are trying to take
Matamoros away from the control of the other, the Gulf Cartel. The Petitioners began to
receive direct threats in l\/lay of 2011 which they believed were from this rival ofthe Gulf
Cartel. The threats included iii-person visits from masked individuals asking workers at
the house to describe who lived and slept there. The Petitioners took these threats as
credible because Matamoros was going through a wave of violence that eventually led to
the death of a Zeta leader. This killing occurred about ten days after l\/[r. Cox left Mexico
with Keyla.

From l\/[ay 28, 2011 through lune 7, 2011 the Petitioners fled to the U.S. for their own
safety. For these ten days, Keyla was placed for her safety away from Casa Bugambilia,
first with her great aunt, Adriana, and then with Dr. Rodriguez Cox’s family. During this
time, they attempted to find a way to have Keyla cross legally into the U.S.. They
attempted to arrange safe passage through the offices of Congresswoman Kay Granger
and U.S. consular officials at the Department of State. 'l`he other family members did not

want to care for Keyla. The pressure of not having anyone responsible in Matamoros to

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Case 2:14-cV-01773-PD Document 1 Filed 03/25/14 Page 11 of 31

care for Keyla and the Petitioners’ concerns for her health led to the Petitioners following
the advice of Congresswoman Kay Granger and the State Department to cross the border
on June 7, 2011with Keyla and ask for humanitarian parole from Customs and Border
Protection (CBP). Mr. Cox had undertaken similar border crossings with the support of
the Congresswoman for children in need of medical care. Exhibit 4 (October 7, 2010
letter of Congresswoman Kay Granger). He undertook this border crossing with the hill
knowledge and cooperation of the Congressional and consular offices He personally
discussed the matter with a Department of Homeland Security (DHS) representative,
Katherine Brown, and received a verbal affirmation that he would be permitted to travel
from the Congresswoman’s office

On June 7, 2011, Petitioner - Mr. Cox traveled with Keyla across the border from
Matamoros to Brownsville, intending to request humanitarian parole. That day, Mr. Cox
was met on the Mexican side of the border by U.S. consular official, Jason Monks, who
had been charged with transporting Keyla, and Alma Idalia Rodriguez, Dr. Rodriguez
Cox’s sister, who is the source of the claim of abuse against Keyla in this matter. Neither
of the Petitioners saw Keyla between May 28, 2011 and the attempt to enter on June 7,
201 1.

At the time of the application for entry to the U.S., Mr. Cox had the permission of
Keyla’s closest relative, her aunt AdrianaJ since the Petitioners had been caring for Keyla
for more than 5 years and provided her the best opportunities to escape the poverty and
violence in Matamoros. This permission had not been granted in written form due to the
emergency nature of the travel, but it has since been confirmed on multiple occasions

Supra. Upon inspection agents of DHS CBP took custody of Keyla. The request for

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Case 2:14-cV-01773-PD Document 1 Filed 03/25/14 Page 12 of 31

humanitarian parole was summarily denied. No written decision was issued. Neither of
the Petitioners has seen Keyla since that day more than three and a half years ago. The
Govemment has not provided information about her whereabouts nor has it provided
them with access to her.

On information and belief, the Government seizure was based on allegations of sexual
abuse made against Mr. Cox by Dr. Rodriguez Cox’s sister, Ahna ldalia Rodriguez.
Those allegations have been investigated and, upon information and belief, they have
been recanted and proven to be unfounded

Upon seizing Keyla, the Government designated her as an “Unaccompanied l\/linor
(UAC).” Under that designation Keyla’s custody and care was turned over to the Ofiice
of Refugee Resettlement (ORR) a component agency of the Department of Health and
Human Services (HHS). ORR quickly transferred Keyla to Chicago and eventually to the
Philadelphia area, where she remains today in the custody of ORR contractor and
designate, Lutheran Children and Family Services (LCFS).

The Coxes attempted communication to ascertain Keyla’s whereabouts and well-being
immediatelyl They were informed by ORR that Keyla would be placed with her maternal
grandfather, Sergio Ruiz Guaj ardo, who is undocumented and living in North Carolina.
Sergio had never had anything to do with Keyla in her life. He soon agreed to relinquish
his custody and care rights on July 10, 2011. Exhibit 5 (July 10, 20ll declaration as to
Child Custody by Sergio Ruiz Guaj ardo). The Petitioners established and have
maintained communication with Sergio and would have supported a placement of Keyla
with him. lf that placement had occurred, they were prepared to provide Sergio with

financial and medical support

12

 

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Case 2:14-cV-01773-PD Document 1 Filed 03/25/14 Page 13 of 31

At some point between luly and October 2011, the Government decided not to place
Keyla with her grandfather. He subsequently reaffirmed his statement to relinquish
Keyla to the Petitioners on November 8, 2011, when the Petitioners filed for
conservatorship in Texas. Exhibit 6 (Affidavit of Sergio Ruiz Guaj ardo November 8,
2011)

lt is unknown what the federal Government has done to investigate the allegations against
the Petitioners However, beginning soon after Keyla’s entry, the Texas Department of
Child Protective Services (Texas CPS) began an investigation As part of the Petitioners’
request for conservatorship, the Texas CPS provided a redacted version of its
investigative records and then an unredacted version of additional records Exhibit 7

(April 20, 2012 Redacted Texas CPS records) and Exhibit 8 (April 25., 2012 Un-redacted

‘Texas CPS records). The Texas CPS investigation included a review of the Petitioners’

relationship, in particular Mr. Cox’s relationship, with two other children the Petitioners
had in their care, Jesse and Nancy Roblero Palomino. The Texas CPS investigation
began on June 17, 2011, ten days after the attempt to cross the border by Mr. Cox and
Keyla. As early as September 14, 2011, any abuse with respect to these two other
children had been ruled out by Texas CPS. Exhibit 7 (Sept. 14, 2011 CPS Notice of
Findings). A narrative of the Texas CPS investigation shows that the agency interviewed
the individual making the allegation Dr. Rodriguez Cox’s sister, Alma ldalia; the doctor
who called the original allegation in, Dr. Guillermo Torres; both of the Petitioners; the
two children in the home, J esse and Nancy; “Vicky” who worked with the Petitioners and

Keyla at Casa Bugambilia; and a consular official, Anahi Velasquez, who was present

13

 

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Case 2:14-cV-01773-PD Document 1 Filed 03/25/14 Page 14 of 31

when Keyla was interviewed by U.S. government investigator, Patricia Barquet, shortly
after Keyla’s detention I_d (notes from June 18, 2011 through September 14, 2011).

None of the witnesses interviewed by Texas CPS credibly confirmed abuse. The accuser

7 Alma ldalia, made additional allegations against her sister relating to physical abuse

against the other girl in the home, Nancy Roblero Palomino, that proved to be unfounded
Her allegations with respect to Keyla were not supported and, upon information and
belief, she has since recanted. During the Texas CPS investigation the doctor who called
in the allegation Guillermo Torres, indicated his only information was second hand and
had come from the accuser, who he was simply trying to support The consular official
also indicated that in her observation of the U.Si Government’s lune 7, 2011 questioning
of Keyla that she did not make any outcry or accusation of abuse. ld. Finally, the Texas
CPS investigation included a July 29, 2011 interview with a pastor from Matamoros who
indicated that Mr. Cox had only done good things there and the pastor did not believe that
Mr. Cox had ever done anything improper with the children in his care.

A second Texas CPS investigation was conducted in December 2011 after an apparent
outcry against the Petitioners by Keyla. The fact of this alleged outcry was never told to
the Petitioners directly. Rather they were informed of it informally in their later
communications with ORR and ICE officials in 2013. At the time of the alleged
December 2011 outcry, no abuse was found.

The Government did inform the Petitioners that Keyla was taken from Texas to Chicago,
lllinois. They provided the contact information of Keyla’s government appointed
attomey, Alexandra Fung, of the lmmigration Children Protection Proj ect of the National

lmmigration Justice Center. Between July 7, 201 l and luly 15, the Petitioners and l\/ls.

14

 

 

 

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Case 2:14-cV-01773-PD Document 1 Filed 03/25/14 Page 15 of 31

Fung exchanged information about Keyla via email. Exhibit 9 (email chain dated luly 7,
2011 _ July 15, 2011). Ms. Fung provided Mr. Cox with the contact information of Carol
Rech as the ORR contact After Ms. Fung told Mr. Cox that Keyla had had seizures, he
contacted Ms. Rech via email on July 13, 2011 to offer further information about her
medications and treatment plans Exhibit 10 (luly 13, 2011- July 20, 2011 email chain
between Mr. Cox, Carol Rech and Mary l\/.[eg McCarthy). Since Ms. Rech was the
apparent representative of the Government with respect to Keyla’s custody, Mr. Cox also
stated in his email to her that, “We also want to petition in the manner directed by your
office to become Keyla’s legal guardians/adoptive parents.” Mr. Cox provided the family
history as recorded above. Ms. Rech referred him to other individuals, including l\/ls.
Fung, ORR officer, J ames de la Cruz, and eventually to Maureen DunnJ ORR supervisor
in Washington, DC. At the time these communications were made, Keyla’s grandfather,
Sergio, had already relinquished custody rights to the Petitioners, since he had no contact
with Keyla and the Petitioners had been caring for Keyla for much of her life. Exhibit 5.
The Petitioners never received instructions on their requests for the proper procedures on
filing a family reunification request with ORR. The July 13, 2011 email was a clear
written request

Even though Sergio had left custody to the Petitioners, on September 7, 2011 the ORR
sent a request to Sergio directing him to apply for reunification with Keyla. Exhibit 1 l
(September 7, 2011 fax). ORR pursued this potential placement, despite the fact that
Sergio was undocumented himself, had little or no previous contact with Keyla, and did

not have the means to provide for her care.

15

 

 

 

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Case 2:14-cV-01773-PD Document 1 Filed 03/25/14 Page 16 of 31

On October 28, 2011, after not receiving any instructions or communications regarding
their requests to ORR to be Keyla’s guardians, the Petitioners initiated proceedings for
conservatorship in Texas. Exhibit 12 (Order of October 28, 2011 appointing Dr. Nancy
Rodriguez Cox temporary Conservator). The Petitioners’ family law attorney contacted
ORR regarding the Texas proceeding After the issuance of the order, the Petitioners
again tried to contact the Government On October 31, 2011, through counsel, they
contacted ORR officer J ames de la Cruz via telephone and email. 'l`heir requests
included: “What steps can we take on behalf of Keyla with the ultimate goal of having
physical as well as legal custody and obtaining legal status for her in the United States?”
Exhibit 13 (October 31. 2011 email from attorney Kay Martinez to ORR officer de la
Cruz).
These requests were referred to Mr. de la Cruz’s supervisor, Maureen Dunn On
November 2, 2011 l\/ls. Dunn’s entire response to Ms. Martinez’s detailed requests and
information was as follows:

You and the Coxes have no biological or legal relationship to

Keyla. 1 cannot provide any information since Keyla. is a minor

with no parents to speak on her behalf You can find out about our

services to unaccompanied alien children on our website and on

the internet so you can be reassured Keyla is well taken care of.

Our legal office will contact you after reviewing the attachment

Exhibit 14 (November 2, 2011 email from Maureen Dunn to

Attorney Martinez) (emphasis added)
No substantive communication was ever received from the ORR legal office as asserted
in l\/ls. Dunn’s email. l\/ls. Dunn does not provide any instruction other than the vague
reference to review the website. See, footnote 4, infra Upon information and belief, the

ORR decision to hold and not relinquish custody over Keyla was already made at the

time this email was written The Government has never provided a direct legal reason for

16

 

 

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Case 2:14-cV-01773-PD Document 1 Filed 03/25/14 Page 17 of 31

its actions nor has it substantively responded to the Petitioners’ requests, including the
request for cooperation and information on the procedures for lawfully obtaining
guardianship and custody of Keyla.

On November 14, 2011, the Petitioners, through counsel, provided the various
Government defendants with official service and notice of the Texas Court
Conservatorship filing EXhibit 15 (November 14, 2011 notice of Texas Court filing).
After continuing informal attempts at communication via telephone over the next several
months, the Petitioners finally decided to proceed in Texas Court. On March 29, 2012,
they filed a request for a hearing and included a full package of supporting documents
Exhibit 16 (March 29, 2012 Motion and Order to Set a on the Non-Jury Docket). The
filing included affirmations from Keyla’s only known relatives, her aunt Adriana and her
grandfather Sergio, supporting the Petitioners’ request lt also included confirmation of
her mother’s disappearance and her great-grandmother’s death as well confirmation of
information relating to the care of the other children already in the Coxes care. Exhibit
17 (Pacl<:age of evidence tabs 1-12).

After receiving the service of the Petitioners’ motion in Texas Court, on April 13, 2012
attorney Alexandra Fung, who had communicated with the Petitioners in the summer of
2011, submitted a letter indicating that she was no longer Keyla’s attorney and that Keyla
had been transferred out of Chicago ORR jurisdiction Exhibit 18 (April 13, 2012 letter
of attorney Fung). This letter provided no further information about Keyla or about her

new attorney.

On April 13, 2012, the Texas Court granted full conservatorship regarding Keyla to the

Petitioners EXhibit 19 (April 13, 2012 Order of Texas District Court grating

17

 

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Case 2:14-cV-01773-PD Document 1 Filed 03/25/14 Page 18 of 31

conservatorship). ln addition to providing full service and notice to all government
parties, the Petitioners specifically addressed all allegations of abuse in open court.
Exhibit 20 (Transcript of April 13, 2012 Hearing).

Less than one month after obtaining the Order from Texas District Court, the Petitioners
filed a reunification application with the Defendants ORR. Exhibit 21 (May 11, 2012
Family Reunification Application form ORR UAC/FRP-3 with attachments). As before,
the Petitioners provided all relevant information, including information from Keyla’s
known relatives indicating support for the application and information on the other
children in their home and the results of the Texas CPS investigation

From records that were only recently submitted in Keyla’s lmrnigration Court removal
case, it appears that rather than address the Petitioners’ request for reunification in good
faith, the Defendants made a decision to undertake their own family court action
purportedly on her behalf On May 11, 2012 the ORR, through l\/laureen Dunn,
appointed counsel from Defendant Philadelphia Hebrew linmigrant Aid Society (HIAS)
and Defendant Philadelphia Support Center for Child Advocates to represent Keyla.
Exhibit 29, tab E (May ll, 2012 letter of Maureen Dunn). The ORR through Ms. Dunn
issued a reassignment of the Child Advocate and specifically noted the “Concerns about
adults seeking to sponsor child” as a factor making Keyla vulnerablel ld. Ms. Dunn’s
letter contained a patently incorrect assertion that “Larry CoX did not request specific
consent from HHS prior to initiating conservatorship proceedings in the TeXas state

court.” Compare, Exhibit 10 (email requests for proper procedures to be appointed

18

 

Case 2:14-cV-01773-PD Document 1 Filed 03/25/14 Page 19 of 31

guardian).4 Upon information and belief, ORR provided instructions to the Pennsylvania
attorneys to pursue a Pennsylvania family court proceeding to declare Keyla dependent
on the state and never intended to act in good faith on the already-pending reunification
request submitted by the Petitioners Unlike a more formal request for adoption,
guardianship or conservatorship a dependency request does not require ORR consent A
dependency order leaves the question of proper custody and guardianship undetermined
lt is unknown whether the Defendants have undertaken steps to initiate guardianship or
other legal changes to custody in Pennsylvania. lf it has done so, then it has obviously
provided someone else with the legal consent it refused the Petitioners (despite the fact
that the Petitioners raised Keyla in their own home for six years and provided care and
assistance to her for most of her life,) The May 11, 2012 letter is indicative of an agency
that had already made up its mind based on allegations that it already knew to be false.
36. Despite the actions it was taking internally, the ORR continued to lead the Coxes to
believe their application would be addressed in good faith. lt took no substantive action
on the application until after being requested on September 20, 2012 to take action
Exhibit 22 (September 20, 2012 letter of counsel to Ms. Dunn). Counsel’s letter
indicated the Coxes lack of understanding of a specific consent requirement but made
that request specifically and in writing in the September 20, 2012 letter. The letter also

made requests for information which have never been responded to at this time. ln

 

4 The ORR website includes a form (ORR-Cl) for specific consent for juvenile court
jurisdiction The ORR-C-l is not required by either regulation¢or statute. lt is not the exclusive
means for making a specific consent request Public access to the form is provided, not in the
ORR Farnily Reunification portion of the website, but in its Unaccompanied Minor instructions
http://www.acf.hhs.gov/programs/orr/resource/unaccompanied-childrens-services.

 

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Case 2:14-cV-01773-PD Document 1 Filed 03/25/14 Page 20 of 31

January 2013, ORR officer de la Cru; contacted the Petitioners and they referred him to
speak with their attomey. Exhibit 23 (letter of Mr. Cox to Mr. de la Cruz).

As part of its review process, the ORR requested lCE to investigate and speak with the
Petitioners. On February 10, 2013, the Petitioners each spoke individually with lCE
officer, loseph Baker, in an investigatory interview conducted ostensibly for the purposes
of their family reunification application Exhibit 24 (February 7, 2013 email from Mr.
Baker continuing scope of the interview).

Similarlyi Mr. de la CruZ spoke briefly with the Petitioners at the Harlingen Airport on
April 10, 2013. At this brief meeting, i\/lr. de la Cruz informed the Petitioner that the
reunification application was moving forward and would likely be approved subject to a
home study and other transitional issues. The implication was that Keyla would be
released to the Petitioners The Texas CPS had already conducted horne studies as part of
the conservatorship process

After l\/lr. de la Cruz’s interview, the next step was to be a home study to which the
Petitioners consented _lnstead, on May 8, 2013 l\/lr. de la Cruz sent an email stating,
without reasoning that, “ORR has made the decision that it is not in Keyla’s best interest
that she be released to you.” Exhibit 25 (May 8, 2013 email from J ames de la Cruz). The
email indicated that further requests for information should be sent to Tricia Swa_rtzJ ORR
Associate Deputy Director. Througli counsel, the Petitioners made a formal request for
reasoning and information relating to the decision Exhibit 26 (l\/iay 8, 2013 letter of
attorney Kathleen Walker to Ms. Swartz). Ms Swartz replied with an email indicating
that, “We are not able to release children’s specific case inforrnation.” Exhibit 27 (l\/[ay

10, 2013 email chain between Ms. Walker and Ms. Swartz).

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Case 2:14-cV-01773-PD Document 1 Filed 03/25/14 Page 21 of 31

From that date to this, ORR has not provided any communication to the Petitioners on
any matter

ln the course of the application for family reunification, the Petitioners became aware of
Keyla’s Alien Registration #201~296-187, because it was on a form they were required to
sign. With that number, they were eventually able to ascertain that Keyla had been
placed in immigration Court removal proceedings in Philadelphia. lt was determined that
a hearing was scheduled on February 10, 2014.

Through undersigned counsel, contact was made with Keyla’s current ORR-assigned
counsel from Philadelphia HIAS on or about February 4, 2014. ln the telephone
conversation, undersigned counsel became aware that Pennsylvania ORR-assigned
counsel had obtained a family court order in Pennsylvania concerning Keyla. lt is the
position of Keyla’s ORR-appointed advocates that no information about the Pennsylvania
proceedings needs to be shared with the Petitioners or the Texas court since ORR
considered the Texas order invalid At the conclusion of that conversation ORR~assigned
counsel filed a Motion to Tenninate removal proceedings with the lmmigration Court
regarding Keyla, and the order was granted expeditiously No notice or communication
was provided to the Petitioners or to undersigned Counsel of this Motion to Terminate by
ORR-assigned counsel of any of their activity in lmmigration Court or with the U.S.
Citizenship and lmmigration Services regarding Keyla. The result was the cancellation
of the February 10, 2014 hearing by order of the Court

Undersigned counsel filed a Motion to Rescind the termination order and a Motion to
permit the Petitioners to appear in loco parentis for Keyla. Exhibit 28 (February 10,

2014 Motions). On February 14, 2014, undersigned counsel made a request to OIU{-

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Case 2:14-cV-01773-PD Document 1 Filed 03/25/14 Page 22 of 31

appointed counsel in the Pennsylvania family court proceedings for a controlled visitation

by Dr. Nancy Rodriguez Cox and information about those proceedings and Keyla’s well

being and care. That request was declined and no further communication has been

received.

On February 25, 2014 ORR-assigned counsel provided a response to the Petitioners’
Motions in lmmigration Court That response indicated for the first time that the
ostensible reason the Petitioners were not recognized and approved for family
reunification in 2013 was that they had failed to formally request ORR consent for their
Texas court proceedings Exhibit 29 (February 29, 2014 Response in lmmigration
Court). The Response does not mention any abuse allegations - it only cites the alleged
failure to follow an ORR procedure As part of the response, ORR-assigned counsel for
Keyla utilized a form l-213 from Government defendant lCE in support of its position
That form indicated the original allegation of sexual abuse, but in no other part of the
response was that allegation re-asserted or alleged.

The response also inciuded a February 21, 2014 letter from the ORR-appointed Child
Advocates for Keyla from the Young Center for immigrant Children’s Rights in Chicago.
EXhibit 29. That letter does not provide any basis or background - such as in-person
observation or other clinical assessment - to support the ultimate assessment that it is in
Keyla’s best interest to have her immigration status resolved quickly. lnterestingly, the
letter does not state that it is in Keyla’s best interest to remain in ORR custody and even
contemplates non»ORR custody. lt is unclear why an office in Chicago is Keyla’s

designated Child Advocate given her location in Philadelphia and the apparent

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Case 2:14-cV-01773-PD Document 1 Filed 03/25/14 Page 23 of 31

appointment of a Child Advocate in Philadelphia. See, Exhibit 29 (letters of ORR and
the Young Center for lmmigrant Children’s Rights).

The Motion for Petitioners to intervene in loco parentis in the lmmigration Court
removal proceedings remains pending. The Defendants have not shared any information
about Keyla with the Petitioners or counsel.

The ORR assertion made in l\/ls. Dunn’s May 11, 2012 letter (Exhibit 29, tab E) that the
Petitioners did not ask for specific consent is belied by the Petitioners luly 13, 2011
emails (Exhibit 10) and their counsel’s letter of September 20, 2012 (Exhibit 22).

The Defendants seizure and detention of the minor child Keyla Eulalia Ruiz Guaj ardo is
unlawful

She has already spent almost three years separated from the only family she has ever
known l-ler liberty interest far outweighs any governmental interest in detaining her
while an administrative process goes forward that the Government itself can control
Foucha v. Lour'si'ana, 504 U.S. 71, 80 (1992) (“Freedom from bodily restraint has always
been at the core of the liberty protected by the Due Process Clause from arbitrary
governmental action.”); see also United Stales v. Salerno, 481 U.S. 739, 755 (1987) (“ln
our society liberty is the norm and detention prior to trial is the carefully limited
exception’°).

The fundamental right to be free from physical restraint applies to non-citizens as well as
citizens See, e.g., Wong Wing v. U.S., 163 U.S. 228, 238 (1896). This fundamental right
is implicated by immigration detention pending deportation or removal proceedings See
Doheriy v. Thornburgh, 943 F.2d 204, 209 (2nd Cir. 1991) (even undocumented aliens

have “substantive due process rights to be free from arbitrary conhnement pending

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Case 2:14-cV-01773-PD Document 1 Filed 03/25/14 Page 24 of 31

deportation proceedings”), cert dismissed sub. nom Doherty v. Barr, 503 U.S. 901
(1992); Foacha v. U.S., supra at 80 (1992) (“Commitmelit for any purpose constitutes
a significant deprivation of liberty that requires due process protection.”)(ernphasis
added); Zadvya'as v. Davi`s, sapra,' Hari`si`ades v. Shaughnessy, 342 U.S. 580, 586 and n.9
(1952) (immigrants stand on “equal footing with citizens” under the Constitution in
several respects, including the protection of personal liberty).

The Third Circuit has held that Government detention of individuals is unlawful in cases
that failed to follow applicable regulations Ngo v. INS, 192 F.3d 390 (3rd Cir. 1999). ln
this case the CBP, lCE, and ORR have all violated applicable regulations and Keyla’s Sth

Amendment Due Process rights

'I`HE STATUTORY AND REGULATORY SCHEME TO PROTECT
UNACCOMPANIED MINORS

The Government has classified Keyla as an Unaccompanied Alien Child (UAC) pursuant
to 6 U.S.C. §279(g). That section is as follows:

(g) Definitions
As used in this section_
(1) the term “placernent” means the placement of an
unaccompanied alien child in either a detention facility or an
alternative to such a facility; and
(2) the term “unaccompanied alien child” means a child who-
(A) has no lawful immigration status in the United States;
(B) has not attained 18 years of age; and
(C) with respect to whom¥
(i) there is no parent or legal guardian in the United States;
or
(ii) no parent or legal guardian in the United States is
available to provide care and physical custody.

According to the Defendants, the UAC designation is made at the time of entry by either

CBP or ICE. Exhibit 29 (frling by ORR~appointed counsel). Under the UAC

24

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Case 2:14-cV-01773-PD Document 1 Filed 03/25/14 Page 25 of 31

designation, the Defendant HHS assumed custody over Keyla pursuant to 8 U.S.C.
§1232(b) after determining that she did not have the faculties/ability to make an
independent decision to return to Mexico. 8 U.S.C. §1232(a)(2)(A)(iii). lt does not
appear that the Government designated Keyla as a victim of trafficking under 8 U.S.C.
§1232(21)(2)(!¥)(i)4

Under the empowering statutes, any action, like the one the Petitioners filed for Keyla in
Texas, requires consent of the Secretary of HHS. 8 U.S.C. §101(a)(27)(])(iii)(l). As
stated above, the Petitioners made such a request and have never received a formal
response To the degree that the Government’s lack of response could be construed to be

an answer, it should be construed to be a denial without reasoning

Under the statute the Government is required to ensure safe placement 8 U.S.C. 1232(0):

(c) Providing safe and secure placements for children
(1) Policies and programs The Secretary of Health and Human Services, Secretary
of Homeland Security, Attorney General, and Secretary of State shall establish
policies and programs to ensure that unaccompanied alien children in the United
States are protected from traffickers and other persons seeking to victimize or
otherwise engage such children in criminal, hannf`ul, or exploitative activity,
including policies and programs reflecting best practices in witness security
programs
This statute establishes the basic duty of care that ORR assumed when it seized Keyla
from the Petitioners’ custody and care lt has not exercised that duty appropriately, given
that it is has refused contact with the only family that Keyla knows without good cause
for doing so. lt has declined important information that would have optimized the
medical care for Keyla. The refusal to share information potentially led to Keyla having
a seizure(s) in ORR custody. The lack of access and information makes it unclear what

other actions or inactions of the ORR have affected Keyla’s emotional and physical well-

being in the almost three years, since she was seized.

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Case 2:14-cV-01773-PD Document 1 Filed 03/25/14 Page 26 of 31

At no point in time have any of the Defendants asserted or shown that they are motivated
by Keyla’s best interest The one letter in the record discussing Keyla’s best interest is
from a child advocacy center in Chicago and even that letter does not assert or claim it is
in her best interest to remain in ORR custody. From the very first minute of Keyla’s
detention, the Government refused good faith information about her medical conditions,
medications and treatment Upon information and belief, this lack of care and treatment
led to her having a seizure(s) during her ORR custody. To this date, the Government has
declined to accept Keyla’s medical history information that was offered by the
Petitioners We respectfully assert that these are not the actions of an agency with the
best interests of a vulnerable child in mind. Ratlier they are the actions of an Agency that
does not want to have its decisions questioned

Upon information and belief, the Government knew early in this process _ by the
conclusion of the Texas CPS investigation in September 2011 a that the allegations of
abuse against the Petitioners were false. The Government also knew that all of Keyla’s
living relatives had recognized the relationship between her and the Petitioners and had
ceded custodial rights to them. They also knew of Petitioners’ desire and ability to
continue the care relationship with Keyla that stretched back almost her whole life
Finally, the Government knew that the Petitioners desired to assume lawful custody
through appropriate and proper procedures All of these facts were in existence on or
before September 2011.

Despite all the pre-requisites being met, the ORR decision to continue custody was made
by Ms. Dunn in November 2011, for reasons unknown The Government has not

deviated from that decision even though it was incorrectly made The decision to

26

 

 

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Case 2:14-cV-01773-PD Document 1 Filed 03/25/14 Page 27 of 31

proceed with a family court action to declare dependency in Pennsylvania was done in
secret, without notice to the Petitioners or to the Texas Court that issued the April 2012
Order. Upon information and belief, it was also filed without notice to Mexican
authorities or consular officials The Defendants and their designees in Pennsylvania
took all of these actions based on the result that was dictated by the ORR decisions
against the Petitioners and not what was in Keyla’s best interest

The existence of all of these factual conditions are sufficient to show that Keyla is no
longer properly classified as an AUC (if she was ever properly classified) and that the
Petitioners were proper sponsors under the applicable Agency rules. See, Stipulated
Settlement Agreement of Flore v. Reno, case cv~85»4544 (C.D.Ca.). The Petitioners’
willingness and ability to properly serve as her guardians was and remains sufficient to
take Keyla out of UAC classification under §279(g)(2)(c)(ii). The actions of the
Government to thwart the Petitioners’ good faith efforts to obtain legal custody in Texas,
its refusal to recognize the Texas Court order, and its actions to obtain at least one secret
order from the Commonwealth of Pennsylvania are indicative of an Agency which has
established a predetemiined outcome and then fit the circumstances to prove it.

The lack of a good»faith from the outset also causes a concern that the Government is not
actually acting in Keyla’s best interest lt may be that the Agency believes it was acting
upon allegations of abuse - but the known allegations of abuse were disproven more than
two and half years ago. The Agency cannot continue to hold a child against the wishes of
her relatives and in opposition to a valid state Court order in a case where it has violated

its own statute and regulations

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Case 2:14-cV-01773-PD Document 1 Filed 03/25/14 Page 28 of 31

ln the end, this Petition and Complaint are about a search for the truth. The Petitioners
are prepared to share their piece of the truth of Keyla’s life and experiences They would
like to continue to do so with Keyla in their lives and she in theirs. lt is time for the

Government to stop hiding Keyla and bring its piece of truth to the table as well.

COUNT I -- DECLARATORY JUDGMENT

The introduction and paragraphs 1» 61 above are herby incorporated las if set forth herein
in their entirety. The agency violations of law provide the jurisdictional basis upon
which the Court may make a Declaratory Judgment under 28 U.S.C. §2201. The failure
and/or refusal to exercise discretion are a violation of the APA and the duty to administer
the law and adjudicate in the lNA. 8 U.S.C. §110l, 1103(a). The APA, 5 U.S.C. §706(1)
allows a Court to “compel agency action unlawfully withheld.” The APA, 5 U.S.C.
§706(2) allows a Court to:

hold unlawful and set aside agency action, findings, and

conclusions found to be - (A) arbitrary, capricious, an abuse of

discretion, or otherwise not in accordance with law; (B) contrary to

constitutional rightJ power, privilege, or immunity; (C) in excess

of statutory jurisdiction, authority, or limitations, or short of

statutory right; [or] (D) without observance of procedure required

by law.
The agency actions are an unlawful withholding of a decision (APA §706(1)); an abuse
of discretion (APA §706(2)(A)); are contrary to Constitutional Due Process (APA
§706(2)(]3)); in excess of statutory powers (APA §706(2)(€)); and a failure to observe

agency procedures embodied in regulations and memorandum (APA §706(2)(D)).

28

 

Case 2:14-cV-01773-PD Document 1 Filed 03/25/14 Page 29 of 31

63. The applicable laws that have been violated are: _ i

a. an incorrect classification of Keyla as UAC under 6 U.S.C. §279(g)(2);

b. a failure to provide a safe and secure placement under 8 U.S.C. §1232(0);
c. duty to exercise discretion, see Accardr`, supra
d. duty to act in good faith in providing or declining consent to family court

jurisdiction under 8 U.S.C. §1101(a)(27)(1)
e. duty to make a reasoned and unbiased decision on the Petitioners’ request for
reunincation under 28 U.S.C. §1361 (l\/landamus);

f. duty to release an unaccompanied alien child to a qualified sponsor without

 

unnecessary delay under the Stipulated Settlement Agreement of F feres v. Rerio,
case cv-85~4544 (C.D.Ca.) (found at ORR website at:
http://ebookbrowsee.net/flores~v~reno-settlement-agreement~ndf-d180710652

g. interference with the Petitioners’ duties to provide care for Keyla pursuant to the
Texas Court Order and with Keyla’s interests to have a cohesive and integral

family pursuant to applicable international,5 federal and state law.

 

 

5 The international norms reflect U.S. domestic law in many ways. The Convention on the
Rights of the Child (CRC) Article 3 states that “in all actions concerning children, whether
undertaken by private or public social welfare institutions, courts of law, administrative
authorities or legislative bodies, the best interests of the child shall be a primary consideration.”
GA res. 44/25, annex, 44 UN GAOR Supp. (No. 49) at 167, UN Doc. A/44/49 (1989). Article 7
provides children with, “as far as possible, the right to know and be cared for by his or her
parents.” ln its preamble the Convention declares that “the family, as the fundamental group of l
society and the natural environment for the growth and well-being of all its members and
particularly children, should be afforded the necessary protection and assistance.... The child

should grow up in a family environment.” l_d. The Coxes are the closest thing to a family that

Keyla have Their. motivations to care for her come from their commitment to her great»

grandmother and their efforts in this matter are supported by her blood relatives because they are

in the best position to provide a loving and caring home for Keyla.

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Case 2:14-cV-01773-PD Document 1 Filed 03/25/14 Page 30 of 31

The proper remedy is a declaratory judgment by this Court stating that the Government
actions and inactions denials are unlawful and ordering the immediate consent to juvenile
court jurisdiction to Texas and the release of Keyla to the Petitioners’ custody in
accordance with the Texas Court order.

COUNT II - HABEAS
The introduction and paragraphs 1" 64 above are herby incorporated as if set forth herein
in their entirety.
Petitioner’s continued custody is arbitrary and capricious, contrary to the provisions of
the Fifth Amendment to the Constitution and the law of habeas, U.S. Const Art l, sec. 9
and 28 U.S.C. §2241.
Keyla’s detention denies her a place with her rightful family. The Petitioners have been
authorized to assume custody and care over Keyla by her only known family members
They are able and willing to do so. The complete restriction on contact or

communication is deleterious to the emotional and medical health of this young girl.

WHEREFORE, Petitioners prays that this Court grant a hearing, and on cause shown, grant the

following relief:

a. Vacate and reverse Government decisions denying reunification between Keyla
and the Petitioners;

b. Order the Government to cease any actions in Pennsylvania Court, and/or to move
to vacate such actions that have already been undertaken or completed;

c. Order the Government to consent to juvenile court jurisdiction in Texas and abide

by the Texas Court order for conservatorship;

30

 

 

Case 2:14-cV-01773-PD Document 1 Filed 03/25/14 Page 31 of 31

d. Order Keyla’s release from Government custody, to the Petitioners’ custody, and
e. Such other relief as the Court may order, including attorneys fees and costs

Respectfully submitted,

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j`i;. -' 531 ( M:
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l\/larch 25, 2014

31

 

 

